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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


JOHN DOE,

      Plaintiff,

vs.                                           Case No. 4:22cv241-AW-MAF

FLORIDA DEPARTMENT OF
LAW ENFORCEMENT,

     Defendant.
_________________________/


                                 ORDER

      This case was initiated by a pro se Plaintiff. Plaintiff has requested

permission to proceed in this case by the use of a pseudonym, John Doe.

ECF No. 4. Filed simultaneously with that request is Plaintiff’s complaint,

ECF No. 1, civil cover sheet, ECF No. 2, and motion for leave to proceed in

forma pauperis, ECF No. 3. All of these documents have been reviewed.

      First things first. Plaintiff’s in forma pauperis motion demonstrates he

is not incarcerated, receives SSA disability, and lacks the resources to pay

the filing fee. ECF No. 3. Good cause having been shown, the motion is

granted.
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      Plaintiff’s request to proceed as a “John Doe” plaintiff is based on an

asserted “nature of privacy.” ECF No. 4. Plaintiff contends that this “case

involves record keeping that is to be expunged,” but he provides no further

argument as for the need to proceed anonymously.

      Plaintiff’s complaint has also been reviewed.1 ECF No. 1.

Essentially, Plaintiff complains that he was wrongfully arrested by the

Broward County Sheriff’s Department, not advised of the charges, not read

his Miranda Rights, and was told he was “being detained” when, in fact, he

was arrested, harassed, and suffered retaliation. Id. at 1-2. Ultimately, the

“charges were dropped,” and Plaintiff filed a request with the Defendant,

FDLE, to have an “automatic expunction” of the arrest record. Id. at 3-4.

Plaintiff alleges that his constitutional rights have been violated by FDLE by

requiring that Plaintiff “file, process, and complete” certain forms and pay a

fee to expunge the “false arrest” and “series of illegal preceedings [sic].”

Id. at 3.




      1
          Notably, Plaintiff’s complaint lists his name as John Doe. ECF No. 1 at 1.
Plaintiff signed the complaint in his legal name. Id. at 6. Documents attached to the
complaint also include Plaintiff’s name. Id. at 7-63. Plaintiff’s in forma pauperis motion
listed John Doe in the case caption, but otherwise provided Plaintiff’s name. ECF No. 3.

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      “Federal Rule of Civil Procedure 10(a) requires that ‘every pleading’

in federal court ‘must name all the parties.’” Fed. R. Civ. P. 10(a) (quoted

in Doe v. Neverson, 820 F. App’x 984, 986 (11th Cir. 2020). “Although this

creates a ‘strong presumption in favor of parties proceeding in their own

names ... the rule is not absolute.’” Neverson, 820 F. App’x at 986 (quoting

Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011)). In considering

Plaintiff’s request to proceed anonymously in this case, his privacy right

must be weighed against “the ‘customary and constitutionally-embedded

presumption of openness in judicial proceedings.’” Plaintiff B, 631 F.3d at

1315-16 (citations omitted).

      Lawsuits are public events. A plaintiff should be permitted to
      proceed anonymously only in those exceptional cases involving
      matters of a highly sensitive and personal nature, real danger
      of physical harm, or where the injury litigated against would be
      incurred as a result of the disclosure of the plaintiff's identity.
      The risk that a plaintiff may suffer some embarrassment is not
      enough.

Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992). The Court must

consider the “totality-of-the-circumstances” in resolving this request. In re

Chiquita Brands Int'l Inc., 965 F.3d 1238, 1247, n.5 (11th Cir. 2020).

      The Eleventh Circuit Court of Appeals has identified several
      factors that may be considered in this evaluation: (1) whether
      plaintiffs seeking anonymity are challenging governmental

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      activity; (2) whether they will be required to disclose information
      of the utmost intimacy; (3) whether plaintiffs will be compelled
      to admit their intention to engage in illegal conduct and thus risk
      criminal prosecution; (4) whether the plaintiffs were minors; (5)
      whether they were threatened with violence or physical harm by
      proceeding in their own names and; (6) whether their anonymity
      posed a unique threat of fundamental unfairness to the
      defendant.

Doe v. Garland, 341 F.R.D. 116, 117–18 (S.D. Ga. 2021) (citing to Francis,

631 F.3d at 1316). Other considerations include whether the plaintiff is a

minor, whether he or she has been threatened with violence or physical

harm, or whether the disclosure of a person’s name would pose “a unique

threat of fundamental unfairness.” Francis, 631 F.3d at 1316; Neverson,

820 F. App’x at 986-87. In general, anonymity requests based on privacy

interests are generally granted in cases that involve “abortion, mental

illness, personal safety, homosexuality, transsexuality and illegitimate or

abandoned children in welfare cases.” Doe v. Family Dollar Stores, Inc.,

No. 1:07-cv-1262, 2007 WL 9706836, at *2 (N.D. Ga. Oct. 17, 2007)

(quotation omitted) (quoted in Garland, 341 F.R.D. at 117). The reason is

based on “the social stigma attached to the plaintiff's disclosure” which

sufficiently overcomes “the presumption of openness in court proceedings.”

Neverson, 820 F. App’x at 988 (quoting Frank, 951 F.2d at 324).


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      In this case, Plaintiff’s privacy interest is not based on any of the

previously recognized issues. This case concerns an arrest and request

for expungement. The fact of one’s arrest two years ago is already a

matter of public information. See ECF No. 1 at 15. Plaintiff is not a minor,

but an adult. Id. It appears that a criminal complaint was filed against

Plaintiff in the Eighteenth Judicial Circuit, in and for Brevard County,

Florida. ECF No. 1 at 59. Thus, Plaintiff was arrested and had a felony

charge brought against him, although the State filed a “Notice of No

Information” in that case. Id. In this situation, Plaintiff is attempting to

proceed anonymously in this Court, although the underlying matters have

been already readily accessible public information for two years. Although

Plaintiff is seeking to challenge a governmental activity, the use of

Plaintiff’s legal name does not “disclose information of the utmost intimacy.”

Further, Plaintiff will not be required to admit illegal conduct which could

subject him to another criminal prosecution, nor has Plaintiff shown that he

is threatened with violence or physical harm.

      It would not be fundamentally unfair to Plaintiff to be required to

prosecute this case in his legal name. Plaintiff’s privacy concerns about

being arrested does not override the “customary practice of disclosing the”

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parties’ identities. Doe v. Sheely, 781 F. App’x 972, 973 (11th Cir. 2019).

The Eleventh Circuit has repeatedly said that “‘personal embarrassment’

alone is not enough for leave to proceed anonymously.” Frank, 951 F.2d at

324 (quoted in Sheely, 781 F. App’x at 974). Plaintiff has presented

nothing more and his request for leave to proceed with a pseudonym is

denied.

      Plaintiff is advised that to go forward in this case, he must file an

“amended complaint” in his legal name no later than August 15, 2022.

The amended complaint must be filed on the form used in this Court which

will better guide the organization of the complaint. Plaintiff is reminded that

all factual allegations must be set forth in short, numbered paragraphs as is

required by Federal Rule of Civil Procedure 10(b). In the alternative, given

this ruling, if Plaintiff no longer desires to continue this case, Plaintiff must

file a notice of voluntary dismissal by the same deadline.

      Accordingly, it is

      ORDERED:

      1. Plaintiff’s motion for leave to proceed in forma pauperis, ECF No.

3, is GRANTED. Plaintiff is not required to pay the filing fee for this case.



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      2. Plaintiff’s motion to proceed with a pseudonym, ECF No. 4, is

DENIED.

      3. The Clerk of Court shall provide Plaintiff with a civil rights

complaint for use by non-prisoners.

      4. Plaintiff shall have until August 15, 2022, in which to file an

amended complaint, on the court form, which must include Plaintiff’s true

legal name in the case caption.

      5. Failure to comply with this Court Order may result in a

recommendation of dismissal of this action.

      6. The Clerk of Court shall return this file upon receipt of Plaintiff’s

amended complaint, or no later than August 15, 2022.

      DONE AND ORDERED on July 15, 2022.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE




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